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     KDSW Holdings, LLLP, a Colorado limited liability limited partnership and Keith V Bonati Petitioners:  v.  John E. Bonati; Charles A. Bonati, Jr.; and Crystal A. Bonati. Respondents No. 24SC746Supreme Court of Colorado, En BancApril 28, 2025
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      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA1943
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    